Case 9:07-cv-80138-Dl\/|l\/| Document 48-7 Entered on FLSD Docket 10/03/2007 Page 1 of 2

LAW OFFICES OF

FRANK J. MCKEOWN, JR., P.A.

CONCOURSE TOWER 1
SUlTE 701
2000 PALM BEACH LAKES BOULEVARD
WEST PALM BEACH, FL 33409

FRANK J. McKEOWNl JR. Telephone No. (561) 832-5650
BOARD CERT|F\ED ClVlL TRlAL ATTORNEY (561) 688-9833
SPEC|AL|Z|NG |N EMPLOYMENT L|TIGA'|'|ON (561) 721-3724

Facsimile No. (561) 688-9985

September 19, 2007

l/IA U.$. MA!L AND FA C$lMILE
Mr. Greg Shavitz

Shavilz Law Group P.A.

1515 South Federa| Highway
Suite 404

Boca Raton, FL 33432

_Re.' $u///i/an v. `Mar/<s_
bear Mr. slaviiz:

Unfortunately we have a major problem with the terms of the Sett|ement
Agreement that you provided.

It seems that recently in fact within the last two (2) weeks Ms. Marks has
determined that Ms. Sullivan has made numerous contacts with customers of
Lana Marks Ltd. Inc. locally, in the United States and internationally using Lana
Marks Ltd. Customer List which she has in her possession. Furthermore, she
has made disparaging remarks to certain individuals on Worth Avenue.
Unfortunately this is unacceptable to my client and there is a non compete
agreement in effect

My client insists on a more specific statement and has revised Paragraph 6
as follows:

The P|aintiffs acknowledge that the Defendant’s good reputation within
the community, United States, and worldwide is extremely important to the
Defendant. Therefore, the Plaintiffs specifically agree that they will not make
any disparaging remarks or encourage or induce others to make disparaging
remarks in any form of communicati 1 - bally or in writing. This includes

EXH|B|T

` j_

      

Case 9:07-cv-80138-Dl\/|l\/| Document 48-7 Entered on FLSD Docket 10/03/2007 Page 2 of 2

Greg Shavitz

Re.' $u//ivan vs. Marks.
September 19, 2007
Page 2 of 2

not only local United States and worldwide customers of the Defendant, but
anyone at all including but not limited to current or former employees of the
Defendant. A|so, Plaintiff Sui|ivan specifically agrees not to contact customers of
the Defendant’s.

This modification if acceptable would satisfy my client’s concerns about
the remarks being made by Ms. Sui|ivan and the use of the customer |ist. As
previously stated my client has issued a check to your account which remains in
my possession until we revise the settlement agreement as set forth above.

Your immediate attention to this matter would be appreciated so we can
Hna|ly resolve this best interests of the parties.

Very truly yours,

 

Frank J. McKeown, Jr.
FJMcK/mk
Cc: Ms. Marks

